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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

STEVEN VANCE and TIM JANECYK, for )
themselves and others similarly situated, )
                                          )
                         Plaintiffs,      )
                                          )
             v.                           )               20 C 577
                                          )
INTERNATIONAL BUSINESS                    )
MACHINES CORPORATION, a New York )
corporation,                              )
                                          )
                         Defendant.       )

                                        ORDER

      Before the Court is Defendant International Business Machines Corporation’s

(“IBM”) Motion to Dismiss Plaintiffs Steven Vance and Tim Janecyk’s Third Amended

Class Action Complaint (“Complaint”). For the following reasons, the Court grants the

Motion.

                                    STATEMENT

      The facts of this case are detailed in our previous Order. Dkt. # 48. Briefly,

Plaintiffs allege that IBM violated the Illinois Biometric Information Privacy Act, 740

ILCS § 14/1 et seq. (“BIPA”), by collecting and using their facial scans in a dataset that

was disclosed to researchers. IBM now moves to dismiss Counts Four, Five, and Nine

of the Complaint.
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       A motion to dismiss under Federal Rule of Civil Procedure 12(b)(6) “tests the

sufficiency of the complaint, not the merits of the case.” McReynolds v. Merrill Lynch

& Co., 694 F.3d 873, 878 (7th Cir. 2012). The allegations in the complaint must set

forth a “short and plain statement of the claim showing that the pleader is entitled to

relief.” Fed. R. Civ. P. 8(a)(2). A plaintiff need not provide detailed factual allegations,

but it must provide enough factual support to raise its right to relief above a speculative

level. Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007).

       A claim must be facially plausible, meaning that the pleadings must “allow . . .

the court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). The claim must be described

“in sufficient detail to give the defendant ‘fair notice of what the . . . claim is and the

grounds upon which it rests.’” E.E.O.C. v. Concentra Health Servs., Inc., 496 F.3d 773,

776 (7th Cir. 2007) (quoting Twombly, 550 U.S. at 555). “[T]hreadbare recitals of the

elements of a cause of action, supported by mere conclusory statements,” are

insufficient to withstand a 12(b)(6) motion to dismiss. Iqbal, 556 U.S. at 678. With

this standard in mind, we address IBM’s arguments in turn.

       IBM first argues that Counts Four and Five are duplicative of Count Three.

Count Three alleges that IBM violated BIPA Section 15(d), which prohibits the

disclosure of biometric information. Counts Four and Five, which Plaintiffs say are

alleged in the alternative, alleges the same: that IBM violated Section 15(d) by

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disclosing their biometric information. But these two counts add a few more details.

Count Four allege that IBM violated Section 15(d) when it disclosed the dataset to

certain specified researchers.1 Count Five alleges that IBM violated Section 15(d) by

disclosing the dataset to different researchers.

           Plaintiffs are correct that Federal Rule of Civil Procedure 8(d)(2) allows for

alternative pleadings. See Holman v. Indiana, 211 F.3d 399, 407 (7th Cir. 2000). A

plaintiff “need not use particular words to plead in the alternative” but “ they must use

a formulation from which it can be reasonably inferred that this is what they were

doing.” Id. This is generally done in the form of “either-or.” Id. But that is not the

case here; Counts Four and Five are functionally identical to Count Three.

           “A claim is duplicative if the parties, facts, and requested relief do not

significantly differ.” Reid v. Unilever U.S. Inc., 964 F. Supp. 2d 893, 919 (N.D. Ill.

2013). Counts Three, Four, and Five allege the same operative facts with the same

injury under the same section of BIPA. Indeed, if Plaintiffs ultimately succeed on

Counts Four and Five, then they would succeed on Count Three as well. We therefore

dismiss Counts Four and Five as duplicative as Count Three. See id. (dismissing

duplicative claims because they “allege identical facts and request the same remedy

under the same statute”).




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    The identities of the researchers were filed under seal.
                                                               3
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         Finally, IBM argues that Count Nine must be dismissed because Plaintiffs

continue to lack Article III standing. Plaintiffs concede they lack standing and note

they realleged the claim to preserve their appellate rights, but nonetheless ask us not to

dismiss the claim because it does not “prejudice or impact the parties in any way.”

While we agree there may not be any prejudice in keeping the claim, we also see no

prejudice in dismissing it. So, for the sake of a clear record, we dismiss Count Nine for

the same reasons it was previously dismissed. 2 See Dkt. # 48.

         Accordingly, the Motion to Dismiss is granted.

                                                 CONCLUSION

         For the reasons stated above, the Court grants IBM’s Motion to Dismiss. Counts

Four, Five, and Nine are dismissed. It is so ordered.


Dated: 08/31/2021
                                                                 ________________________________
                                                                 Charles P. Kocoras
                                                                 United States District Judge




2
  Neither party discusses Fox v. Dakkota Integrated Sys. LLC, 980 F.3d 1146 (7th Cir. 2020). In Fox, which was
issued after this Court’s Order dismissing Plaintiffs’ Section 15(a) claim, the Seventh Circuit clarified when a plaintiff
has Article III standing to bring a BIPA Section 15(a) claim in federal court. Since the issue was not raised, we do
not address whether Fox changes our previous analysis.
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